Case:lS-lOOSS-SDB Doc#:6 Filed:Ol/09/18 Entered:Ol/09/1816:44:31 Page:l 0f8

lN THE UN|TED STATES BANKRUFTCY GDURT
FOR THE SUUTHERN DlSTRlCT CIF GEDRG|A

 

Fiii in this information to identify your caaa;

 

 

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_rlrn Nam¢ Mmulo Nama ton mma
|;| Cheei~~L it`this is an amended plan_
Debtor 2 __ n
ispoum. it nmg) iam anna nam- n¢m. un mims

C.‘aae Number 18-10033
annum

 

 

CHAPTga 13 PLAN ANo MoTloN
[Fursuant to Fed. R. Bm'lkl'. F‘. 30|5.|, the Southcm District ochorgia Genera| Order 20 17-3 adopts this form in lieu ofthc {in'icial Fomt l 13].

l. Noticca. Dchtor(s) must check one box on each line to state whether or not the plan includes each of the following items.
ll` an item is checked as not being contained in the plan or if neither or both boxes are chechetl1 the provision will he
ineffective if set out in the plan.

(a) This plan: iZi contains nonatandan:l provisions. See paragraph 15 below.
El does not contain nonstandard provisions.

(_b) This plan: [El values the claim(s) that secures collateral. See paragraph 4(f) below.
|:| does not value claim(s) that secures coilateral.

(ci This plans seeks to avoid a lien or security interest See paragraph ii helow.
l:| does not seek to avoid a lien or security interest.

2. Plan Payments.

(a) The chtor(s) shall pay to the Chapter 13 Tmstee (the “Truatee") the sum of$425.i]0 per month for the applicable
commitment period of:

ij 50 months; or (lf applicable include the following: These plan
payments will change to $ monthly on
aminimum of 36 montha. See ii U.S.C. § l325(b)(4). ,ZD -)

(b) The payments under paragraph Z(a) shall be paid:

® Purauant to a Notice to Commencc Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s)
upon the Debtor’s(s’) employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the
Dchtor's(s') employer(s) to withhold and remit to the Trustec a dollar amount that corresponds to the following
percentages of the monthly plan payment

Debtor l 100 % l:| DebtorZ %

|:| Direct to the Trustee for the following reason(s):
ij The Debtor(s) receive{s) income solelyl from self-employment, Social Security, government aesietance, or
retirementl
|:.| The Dehtor(s) assert(s) that wage withholding is not feasible for the following reason(s):

(c) Additional Payments of $ (estimated amount) will he made on (antieipated date)

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from _ _ (source, including income tax relilnds).

3. Long-Term Debt Payments.

(a) Maintenance of Current lnstallment Payments. The Debtor(s) will make monthly payments in the manner specified as
follows on the following long-term debts pursuant to l l U.S.C. § 1322(b)(5). These postpetition payments will be disbursed
by either the Trustee or directly by the Debtor(s), as specified below. Postpetition payments are to be applied fo postpetition
amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable. Conduit payments that
are to be made by the Trustee which become due after the filing of the petition but before the month of the first payment
designated here will be added to the prepetition arrearage claim.

P'AYMENTS TO BE N|ONTH ClF FIRST

PRiNClFAL MADE BY POSTPETITION lN|'l'IAl.

RES[DENCE (TRUSTEE OR PAYMENT TO MONTHLY
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Citifinancial Real estate Y Deblor January 2018 Contract rate

(b) Cure of Arrearage on Long-Term Debt. Pursuant to l l l.J.S.C. § l322(b)(5), prepetition arrearage claims will be paid in
hill through disbursements by the Trustee, with interest (ifany) at the rate stated bciow. Prepctition arrearage payments are
to be applied to prepetition amounts owed as evidenced by the allowed ciaim.

Maimgg_gr_ PRINCIPAL EsTlMATED AMouNT tNTEaEsT RATE on
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4. 'l`reatment of C|aims. From the payments rcceived, the Trustee shall make disbursements as follows unless designated

otherwise:

(a_i Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.
(b) Attorney’s Fees. Attorney’s fees allowed pursuant to l l U.S.C. § 507(a)(2) of$4,500.00.

(L`».‘i Friority Claims. Other l l U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of
the plan as funds become available in the order specified by law.

(_d) Ful|y Secu red Allowed Claims. Ali allowed claims that arc iiilly secured shall be paid through the plan as set forth below.
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(c) Eeeured C|aims Excluded from ll U.S.C. § 506 (those claims subject to the hanging paragraph of ll U.S.C. §
1325(a)). The claims listed below were either: (l) inctu'red within 9]0 days before the petition date and secured by a

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purchase money security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within |
year of the petition date and secured by a purchase money security interest in any other thing of value. These claims will
be paid in hill under the plan with interest at the rate stated below:

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Sonis Financial (flca Real estate 8,996.37 5% 180.00

C|ear$prings)

Buchanan Auto Sales vehicle 4.000.00 5% 80.00

RC Tax Cornm Real estate |,862‘00 5% 40.00

i ii Valuation of Secu red Claims to Which ll U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims partially
secured by collateral pursuant to l l U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
unsecured portion ol`any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Dehtor(s) shall attach a certificate of

service.
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WS Badcocit Personal property 1.00 3% l.00

(g) Specia| Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at IUU%
l:l with interest at % per annum or l:| without interest:

(li) General Unsecurcd Claims. Aliowed general unsecured claims, including the unsecured portion ofany bifurcated claims
provided for in paragraph 4(i`) or paragraph 9 of this planlr will be paid a 0.00 % dividend or a pro rata share of
$ , whichever is greater.

s. Executory Contracts.

(a) Maintcnance of Current lnstallment P'ayments or Rejcction of Executory Contract(s) andlor Unespirerl Lease(s).

DEBCR|PTION OF FROPERT‘{ISERV[CES ASSUMED! MC|NTl-ll.\' DlSBURSED BY TRL|STEE
CB.E.ELIQB ntsb CQNTRAQI EEJ_E§;`LED PA_YMENT QB_DE.BI.QB[§J
Music & Arts Rental agreement for flutc assume Ccntract rate chtor

(b) Treatment of Arrearages. Frepetition arrearage claims will be paid in full through disbursements by the Trustce.

§BEDITQR ]§-STIMATED AEEEBEM§E

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6.

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Adequate Protection Fayments. The Debtor(s) will make pre-confirmation lease and adequate protection payments pursuant
to l l U.S.C. § 1326(a){l) on allowed claims of the following creditors: l:| Direct to the Creditor; or |:l To the Trustee.

QB§QITOR g }ELQQAT§ ERCITECTIQN QR LEA§E EA! MEHI AMQL!|§§]

Domestic Support Obligations. The Debtor(s) Will pay all postpetition domestic support obligations direct to the holder of`
such claim identified here. See ii U.S.C. § lDl(l¢lA). The Trustee will provide the statutory notice of l l U.S.C. § l302(d) to

the following ciaimant(s):

g|,g[MANT oD.DB.E.EE

Lien Avoidance. F"ursuant to l i U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the following
creditor(s), upon continuation but subject to ll U.S.C. § 349, with respect to the property described below. The plan shall he
served on all affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a certificate of`
service.

CRED|T R l_.lEN IDENTlFlQATlQN fit ig_ggwg] EBQE]§RTY

World Finance Pcrsonal property/vehicle
Pioneer Credit Fersona| property/vehicle
Colonial Finance Personal property/vehicle
Money 'I`rce Personal property!vchicle
Southern Financc Personal property!vchic|c

Su rrcnder of C‘o|latera|. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown
below upon confirmation ot` the plan. The Debtor{s) rcquest(s) that upon continuation of this plan the stay under l l lJ.S.C. §
362(a) be terminated as to the collateral only and that the stay under l l U.S.C. § 1301 be terminated in all respects. Any allowed
deficiency balance resulting from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph
4(h) of this plan if the creditor amends its previously-filed, timely claim within 130 days ii'om entry ot` the order continuing this
plan or by such additional time as the creditor may be granted upon motion filed within that lSO»day period

cagotrgg MQLLAIM gaining 515 gi gm sarlsrtao

Tit|cmax Repod vehicles Full satisfaction of all debt & claims
Capita| One Auto/GMC Repod vehicle Ful| satisfaction of all debt & claims
Welis Fargo DS Repod vehicle Full satisfaction of all debt tit claims

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12.

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Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by
11 u.s.c§ iszs(a)rs).

Amounts of Claims and Clalm Objections. The amount and secured or unsecured status, of claims disclosed in this plan are
based upon the best estimate and belief of the Debtor(s). An allowed proof of claim will supersede those estimated claims. in
accordance with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure, objections to claims may be filed before or
after confirmationl

Fayment lncreases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes,
after notice from the Trustee and a hearing if nccessary, unless a plan modification is approved

Federal Rule ot` Bankruptcy Frocedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
creditor pursuant to Fed. itt Bankr. P. 3002.i(c) unless the Debtor’s(s’) plan is modified after the filing of the notice to provide
for payment of such fees, expenses, or charges.

Servicc of Plan. Pursuant to Fed. R. Banlcr. P. 3015(d) and General Order 20i 7-3, the Debtor(s) shall serve the Chapter 13 plan
on the Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly if the Debtor(s]
seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s) to avoid a security
interest or lien (paragraph ii above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan on the affected
creditors pursuant to Fed. R. Banl<r. P. 7004. See Fed. R. Bankr. P. 3012(|3), 4003(€1), and 9014.

Nonstandard Frovisions. Under Fed. R. Banl<r. F'. 3015(c), nonstandard provisions must be set forth below. A nonstandard
provision is a provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in

this plan are void.

Debtor anticipates that all GlLA lenders charged a non filing insurance, insurance in lieu of perfection.

By signing below, l certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

Dated: 113/2018 s/Evadne M Ford

Deblor .i

 

Deb!or 2

s/Angela McElroy-Magruder
Ar!orneyj&ir the Debror(s)
GA Bar No 11362.5

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IN THE UN]TEI) STATES BANKRUPTCY COURT
FOR THE SOUTHERN DIS'I`RICT UF GEORGIA
AUGUSTA DIVISION `

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CERTIFICATE OF SERVICE

l hereby certify that I have served a copy of the within and foregoing Chapter 13 Plan and
Motion by placing same in the United States mail with proper postage affixed thereon to insure delivery,
addressed as follows:

SEE ATTACHED MATRIX

l hereby certify that the following insured depository institutions were served by Certified Mail
addressed to the officer of the institution:

NA

In hereby certify that the following parties and counsel were served electronically through the
Notice of Electroriic Filing (NEF) at the following address:

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foice of the U.S. Trustee
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This 9th` day of January, 2018.

S/ Angela McE|rgy-Mggmder
Angela McElroy-Magruder

Georgia Bar # 113625
Attorney for Debtor

Angela lMcElroy~iviagrudel' 1
Claeys, McElroy-Magruder dc Kitchens
512 Telfair Street

Augusta, Georgia 30901

(705) 724-6000

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Case 18-10013-903

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The preferred mailing address fpl above has base substituted for tba following entity/entitles as so specified
by said entity/entities 1a a Hetice of lddress filed pursuant to 11 0.5.€. 142ifl and Fed.R.Baak.P. 2002 igl(i).

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